                                                         Understanding the Function and Purpose
                                                         of United States Magistrate Judges.

                                                                  The backbone of an independent federal
                                                         judiciary is life-tenured judges appointed under
                                                         Article III of the Constitution. In America's federal
                                                         trial courts, justice is administered by life-tenured
                                                         District Judges, and by judges who serve
                                                         fixed-terms: United States Magistrate Judges
                                                         and United States Bankruptcy Judges.

                                                                  This brochure illuminates the function
                                                         and purpose of United States Magistrate Judges
                                                         who are independent judges serving federal
                                                         district courts in an adjunct capacity by dealing
                                                         with cases, or parts of cases, assigned to them
                                                         by district judges.

 United States                                           Title and Manner of Addressing a United
Magistrate Judges                                        States Magistrate Judge.

                                                         •   The official title of these judges
               Their Function                                is"United States Magistrate Judge."
                And Purpose
                  In Our                                 •   A United States Magistrate Judge
               Federal Courts                                should be addressed, orally and in
                                                             writing, as ''Judge______ ," to be
                                                             consistent with the position's judicial
                                                             role and official title as prescribed by
                                                             law.

                                                         •   Although some state courts have a
                                                             judicial officer called a "magistrate,"
                                                             that title as applied to a United States
                                                             Magistrate Judge is obsolete. To
                                                             address these judges simply as
                                                             "Magistrate" is akin to improperly
                                                             addressing a Lieutenant Colonel as
                                                             "Lieutenant," or a Bankruptcy Judge
                                                             as "Bankruptcy."
A Publication of Federal Magistrate Judges Association
Answers to Some
Commonly Asked Questions.
Q: What are the standards for                        Q: Are a party’s rights affected when
     selecting a federal magistrate                       litigants consent to have a magistrate
     judge?                                               judge hear a case?
A:   To be appointed as a magistrate judge,
                                                     A:   Consenting to jurisdiction of a magistrate
     an individual must:
                                                          judge does not eliminate substantive or
     •   have been a member in good                       procedural rights litigants would otherwise
         standing of the bar of the highest               have before a district judge. For example,
         court of a State, District, Territory, or        parties retain their right to have a jury trial.
         Commonwealth of the United States
         for at least five years;                    Q: Do magistrate judges handle many
     •   be determined by the appointing                  civil jury cases?
         district court to be competent to
         perform the duties of the office;           A:   Yes. In 1999, magistrate judges conducted
     •   be unrelated to a judge of the                   approximately 21 percent of the civil jury
         appointing court; and                            trials in United States district courts. When
     •   be selected pursuant to standards                all parties consent, magistrate judges may
         promulgated by the Judicial                      conduct trials and enter judgments in civil
         Conference of the United States.                 cases of any type or size.

Q: What’s the difference between a                   Q: Do magistrate judges handle many
   district court judge and a                             criminal cases?
   “magistrate judge’s court”?
                                                     A:   Yes. With consent of defendants,
A:   There is no “magistrate court.” Both
                                                          magistrate judges may preside in Class A
     district and magistrate judges preside in
                                                          misdemeanor cases, including conducing
     United States District courts created
                                                          jury trials. In 1999, magistrate judges
     under Article III of the Constitution.
                                                          terminated 10,733 Class A misdemeanor
Q: What’s the difference between                          cases. Although magistrate judges do not
                                                          preside at felony trials, They may also
     district and magistrate judges?
                                                          conduct preliminary and post-conviction
A:   District judges are life-tenured judges              proceedings in felony cases. Magistrate
     nominated by the President and                       judges may conduct trials that dispose of all
     confirmed by the Senate. Magistrate                  petty offense cases with the defendant’s
     judges are fixed-term judges appointed               consent.
     by district judges for eight-year
     renewable terms via a merit selection
     process.

Q: How do civil litigants request trial
     before magistrate judges?
A:   All parties must consent in writing and
     the case must be officially transferred by
     the district judge. Forms are available
     from the Clerk of Court.
The Role of Magistrate Judges.               A Historic Overview.
     United States Magistrate Judges are         The United States magistrate judge
generalist judges with a broad range of      system evolved from the United States
responsibilities. While their duties may     commissioner system established in 1793.
vary with the specific needs of each         In 1965, Congress conducted an exhaustive
district court, Magistrate Judges handle a   examination of the commissioner system.
wide array of federal civil and criminal     Witnesses overwhelmingly favored
cases nation wide.                           overhauling the system and enhancing the
                                             commissioner position.
     A sampling of the judicial functions
                                                  The Federal Magistrates Act of 1968
performed by Magistrate Judges
                                             created the position named United States
demonstrates the potential breadth of        magistrate to denote the break with the
their authority:                             commissioner system. The Act increased
•   Presiding at civil jury trials by        the criminal trial jurisdiction of these new
                                             judicial officers over that of commissioners,
    consent of the parties and entering
                                             and also authorized the new officers to
    judgments;
                                             assist judges of district courts in handling a
•   Presiding at criminal misdemeanor        wide range of proceedings in civil and
    jury trials by consent of the parties    criminal cases.
    and imposing sentences;
                                                In 1976, 1979 and 2000, further
•   Pretrial case management in              amendments were enacted which
    complex civil cases;                     specifically:

•   Conducting preliminary proceedings       •   Authorized magistrate judges to try any civil
    in all criminal cases;                       case upon consent of the parties and to
                                                 order the entry of final judgment;
•   Conducting settlement conferences;       •   Expanded trial jurisdiction of magistrate
                                                 judges to all federal misdemeanors;
•   Hearing and determining pretrial
                                             •   Required that magistrate judges be selected
    motions;
                                                 and appointed in accordance with
•   Hearing and recommending                     regulations promulgated by the Judicial
    disposition of summary judgment              Conference of the United States;
    and other case dispositive motions;      •   Expanded magistrate judges' civil and
                                                 criminal contempt authority;
•   Reviewing prisoner suits collaterally    •   Gave magistrate judges plenary authority in
    attacking convictions or complaining         Class B and C misdemeanor cases without
    of conditions of confinement; and            the consent of the defendant; and
                                             •   Gave magistrate judges authority to
•   Issuing arrest and search warrants.          sentence juvenile defendants to terms of
                                                 imprisonment in misdemeanor cases.
                             UNITED STATES DISTRICT COURT
                                 Northern District of Ohio



        Plaintiff                                 CONSENT TO EXERCISE OF JURISDICTION
                                                  BY A UNITED STATES MAGISTRATE JUDGE
                 v.                               AND ORDER OF REFERENCE

                                                 Case Number:
        Defendant

     CONSENT TO EXERCISE OF JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE

        In accordance with the provisions of 28 U.S.C. 636(c) and Fed. R. Civ. P. 73, the parties in this case
hereby voluntarily consent to have a United States magistrate judge conduct any and all further proceedings
in the case, including the trial, and order the entry of a final judgment.

                      Signatures                         Party Represented                 Date




                                      ORDER OF REFERENCE

       IT IS HEREBY ORDERED that this case be referred to                                            United
States Magistrate Judge, for all further proceedings and the entry of judgment in accordance with 28 U.S. C.
636(c), Fed.R.Civ.P. 73 and the foregoing consent of the parties.



          Date                                                   United States District Judge



NOTE:            RETURN THIS FORM TO THE CLERK OF THE COURT ONLY IF ALL PARTIES
                 HAVE CONSENTED ON THIS FORM TO THE EXERCISE OF JURISDICTION BY
                 A UNITED STATES MAGISTRATE JUDGE.
                                 UNITED STATES DISTRICT COURT
                                     Northern District of Ohio


                                               NOTICE & ORDER


Pursuant to 28 U.S.C. §636(c)(1) and LR 73.1, a Magistrate Judge of the Northern District of Ohio may, upon
consent of all parties to an action, and entry of an order of reference by the Judge, exercise trial jurisdiction in
civil actions, both jury and non-jury, and enter final judgment therein.

If all parties to this action consent and an order of reference is entered, the case will be assigned to a
Magistrate Judge pursuant to LR 73.1. If all parties do not consent, or if an order of reference is not entered,
the action will remain with the Judge to whom it is assigned. The decision of counsel on this matter of
consent is entirely voluntary. Your response is joint, and disclosure of individual decisions is not required.

Pursuant to Local Civil Rule 73.1, Recusal, Resignation or Death of Magistrate
Judge, where the parties have consented of the transfer of a civil case to a Magistrate Judge under section
(a) above, if the Magistrate Judge thereafter recuses, resigns or dies, the case shall be returned to the
District Court Judge. The Clerk shall immediately assign another Magistrate Judge by the random draw and
notify the parties of such new assignment. Within ten (10) days after such notification by the Clerk, the parties
shall indicate their consent, or lack thereof, to transferring the case to the newly-assigned Magistrate Judge
under 28 U.S.C. §636(c). If the parties do not consent to the transfer, the case shall remain with the District
Court Judge.

At the time the last appearance of counsel is made on behalf of the named defendant, the parties are to
communicate with each other on this matter. It is the responsibility of plaintiff’s counsel to initiate such
consultation. The response is to be returned within ten (10) days of the last appearance. The
response must contain the signatures of all counsel.

Pursuant to 28 U.S.C. §636(c)(3) all appeals relating to magistrate consent cases must be heard only in the
court of appeals.

Please file the proposed consent electronically using the civil event "Notice". Parties representing
themselves should sign and send form to the Clerk's Office. If an order of reference is entered by the Court,
you will be advised by the Clerk as to which Magistrate Judge the has been assigned for further proceedings.


                                                     Sandy Opacich
                                                     Clerk of Court


                                         (See form on the reverse side)
o:\forms\consent.pdf
revised March 2008
